             Case 2:10-cr-00437-WBS Document 113 Filed 06/03/11 Page 1 of 4


     JOHN R. MANNING (SBN 220874)
 1   ATTORNEY AT LAW
 2
     1111 H Street, # 204
     Sacramento, CA. 95814
 3   (916) 444-3994
     Fax (916) 447-0931
 4
     Attorney for Defendant
 5
     MICHAEL LEONARD LOVATO
 6
                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                       )       No. CR-S-10-437 WBS
 9
                                                     )
                                                     )
10          Plaintiff,                               )       STIPULATION AND
                                                     )       [PROPOSED ORDER] CONTINUING
11
     v.                                              )       STATUS CONFERENCE
                                                     )
12
     AMADOR ELI ROSALES, et al.,                     )       Date: July 25, 2011
                                                     )       Time: 8:30 a.m.
13
                                                     )       Judge: Honorable William B. Shubb
            Defendants.                              )
14
                                                     )
                                                     )
15
                                                     )
16

17          IT IS HEREBY stipulated between the United States of America through its undersigned

18   counsel, Jill M. Thomas, Assistant United States Attorney, together with counsel for defendant

19   Michael Leonard Lovato, John R. Manning, Esq., counsel for defendant Michael Valentino

20   Lovato, Kelly Babineau, Esq., counsel for defendant Jonathan Gonzalez, Danny D. Brace, Jr.,

21   Esq., counsel for defendant Andre Kovacs, James P. Chandler, Esq., counsel for defendant

22   Amador Eli Rosales, Michael L. Chastaine, Esq., counsel for defendant Tony Rosales, Dan F.

23   Koukol, Esq., counsel for defendant Adrianna Cano, Mark J. Reichel, Esq., and counsel for

24   defendant Derick Noble, Timothy E. Warriner, Esq., that the status conference presently set for

25   June 6, 2011 be continued to July 25, 2011, at 8:30 a.m., thus vacating the presently set status

26   conference for all defendants with the exception of defendant Nicole Garcia, who wishes to

27   remain on calendar to enter a change of plea.

28




                                                         1
              Case 2:10-cr-00437-WBS Document 113 Filed 06/03/11 Page 2 of 4



 1          Defense counsel requires additional time to review the voluminous discovery and
 2   perform investigation. Therefore, counsel for the parties stipulate and agree that the interests of
 3   justice served by granting this continuance outweigh the best interests of the defendants and the
 4   public in a speedy trial. 18 U.S.C. 3161(h)(7)(A) (continuity of counsel/ reasonable time for
 5   effective preparation) and Local Code T4, and agree to exclude time from the date of the filing of
 6   the order until the date of the status conference, July 25, 2011.
 7

 8   IT IS SO STIPULATED.
 9

10   Dated: June 1, 2011                                            /s/ John R. Manning
                                                                   JOHN R. MANNING
11                                                                 Attorney for Defendant
                                                                   Michael Leonard Lovato
12

13   Dated: June 1, 2011                                           /s/ Kelly Babineau
                                                                   KELLY BABINEAU
14                                                                 Attorney for Defendant
15
                                                                   Michael Valentino Lovato

16   Dated: June 1, 2011                                            /s/ Danny D. Brace, Jr.
                                                                   DANNY D. BRACE, JR.
17                                                                 Attorney for Defendant
18
                                                                   Jonathan Gonzalez

19   Dated: June 1, 2011                                            /s/ James P. Chandler
                                                                   JAMES P. CHANDLER
20
                                                                   Attorney for Defendant
21                                                                 Andre Kovacs

22   Dated: June 1, 2011                                           /s/ Michael L. Chastaine
                                                                   MICHAEL L. CHASTAINE
23
                                                                   Attorney for Defendant
24                                                                 Amador Eli Rosales

25   Dated: June 1, 2011                                           /s/ Dan F. Koukol
                                                                   DAN F. KOUKOL
26
                                                                   Attorney for Defendant
27                                                                 Tony Rosales

28




                                                       2
             Case 2:10-cr-00437-WBS Document 113 Filed 06/03/11 Page 3 of 4


     Dated: June 1, 2011                             /s/ Mark J. Reichel
 1
                                                     MARK J. REICHEL
 2                                                   Attorney for Defendant
                                                     Adrianna Cano
 3
     Dated: June 1, 2011                             /s/ Timothy E. Warriner
 4
                                                     TIMOTHY E. WARRINER
 5                                                   Attorney for Defendant
                                                     Derick Noble
 6

 7

 8
     Dated: June 1, 2011                             Benjamin B. Wagner
 9                                                   United States Attorney
10
                                               by:   /s/ Jill M. Thomas
11                                                   JILL M. THOMAS
                                                     Assistant U.S. Attorney
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                           3
              Case 2:10-cr-00437-WBS Document 113 Filed 06/03/11 Page 4 of 4



 1   JOHN R. MANNING (SBN 220874)
     ATTORNEY AT LAW
 2
     1111 H Street, # 204
 3   Sacramento, CA. 95814
     (916) 444-3994
 4   Fax (916) 447-0931
 5
     Attorney for Defendant
     MICHAEL LEONARD LOVATO
 6

 7
                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9

     UNITED STATES OF AMERICA,                      ) No. CR-S-10-0437 WBS
10
                                                    )
                                                    )
11          Plaintiff,                              ) ORDER TO
                                                    ) CONTINUE STATUS CONFERNCE
12
     v.                                             )
                                                    )
13
     AMADOR ELI ROSALES, et al.,                    )
                                                    )
14
                                                    )
            Defendants.                             )
15
                                                    )
                                                    )
16
                                                    )
17

18

19
            GOOD CAUSE APPEARING, it is hereby ordered that the June 6, 2011 status

20
     conference be continued to July 25, 2011 at 8:30 a.m. I find that the ends of justice warrant an

21
     exclusion of time and that the defendant’s need for continuity of counsel and reasonable time for

22
     effective preparation exceeds the public interest in a trial within 70 days. THEREFORE IT IS

23
     FURTHER ORDERED that time be excluded pursuant to 18 U.S.C. 3161(h)(7)(A) and Local

24
     Code T4 from the date of this order to July 25, 2011.

25
     IT IS SO ORDERED.
     Dated: June 2, 2011
26

27

28




                                                     4
